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 J. Preston Stieff (4764)
 J. PRESTON STIEFF LAW OFFICES, LLC
 110 South Regent Street, Suite 200
 Salt Lake City, Utah 84111
 Telephone: (801) 366-6002
 Email: jps@StieffLaw.com

 Frances C. Bassett, Pro Hac Vice
 Michael W. Holditch, Pro Hac Vice
 Robert T. Lawrence, Pro Hac Vice
 Joanne H. Curry, Pro Hac Vice
 Jeremy J. Patterson, Pro Hac Vice
 PATTERSON EARNHART REAL BIRD & WILSON LLP
 1900 Plaza Drive
 Louisville, Colorado 80027
 Telephone: (303) 926-5292
 Facsimile: (303) 926-5293
 Email: fbassett@nativelawgroup.com
 Email: mholditch@nativelawgroup.com
 Email: rlawrence@nativelawgroup.com
 Email: jcurry@nativelawgroup.com
 Email: jpatterson@nativelawgroup.com

 Attorneys for Plaintiff


                       UNITED STATES DISTRICT COURT FOR THE
                                 DISTRICT OF UTAH



   UTE INDIAN TRIBE OF THE UINTAH &
   OURAY RESERVATION,                           PLAINTIFF’S NOTICE OF
                                            SUPPLEMENTAL AUTHORITY IN
                 Plaintiff,                 SUPPORT OF MOTION TO AMEND

          v.
                                            Civil Case No. 2:21-CV-00573-JNP-DAO
   UNITED STATES DEPARTMENT OF
   INTERIOR, ET AL.,                                 Judge Jill N. Parish

                 Defendants.                  Magistrate Judge Daphne A. Oberg
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        Pursuant to DUCivR 7-1(b)(4) and the Court’s request issued at oral argument held May

 25, 2022, Plaintiff provides the following Notice of Supplemental Authority in support of its

 Motion to Amend.

        At oral argument, Defendants’ counsel asserted that the equal protection clause of the

 Fourteenth Amendment, U.S. Const. amend. XIV, § 1, does not apply to corporations – including

 Plaintiff’s corporate form, federally chartered pursuant to 25 U.S.C. § 5124. In response, Plaintiff

 cited case law demonstrating that the equal protection clause does apply to corporations. The

 Court then requested that Plaintiff file a Notice of Supplemental Authority no later than Friday,

 May 27th setting forth case law stating this proposition, which Plaintiff here provides:

    1. Pembina Consol. Silver Mining & Milling Co. v. Com. of Pennsylvania, 125 U.S. 181

        (1888):

        The inhibition of the amendment that no state shall deprive any person within its
        jurisdiction of the equal protection of the laws, was designed to prevent any person
        or class of persons from being singled out as a special subject for discriminating and
        hostile legislation. Under the designation of ‘person’ there is no doubt that a private
        corporation is included. Such corporations are merely associations of individuals
        united for a special purpose, and permitted to do business under a particular name,
        and have a succession of members without dissolution. As said by Chief Justice
        MARSHALL: ‘The great object of a corporation is to bestow the character and
        properties of individuality on a collective and changing body of men.’

 Id. at 188–89 (quoting Providence Bank v. Billings, 29 U.S. 514, 562, 7 L. Ed. 939 (1830)).

    2. Wheeling Steel Corp. v. Glander, 337 U.S. 562 (1949):

        It has consistently been held by this Court that the Fourteenth Amendment assures
        corporations equal protection of the laws, at least since 1886.

 Id. at 574 (citing Santa Clara Co. v. Southern Pacific R. Co., 118 U.S. 394, 396 (1886)).

    3. MSM Farms, Inc. v. Spire, 927 F.2d 330 (8th Cir. 1991):

        The equal protection clause of the fourteenth amendment provides that no state

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        shall “deny to any person within its jurisdiction the equal protection of the
        laws.” U.S. Const. amend. XIV, § 1. A corporation such as MSM Farms is a
        “person” under the equal protection clause.

 Id. at 332 (citing Pembina, 125 U.S. at 189).

        Respectfully submitted this 27th day of May 2022.


                                                 PATTERSON EARNHART REAL BIRD &
                                                 WILSON LLP

                                                 /s/ Robert T. Lawrence
                                                 Frances C. Bassett, Pro Hac Vice
                                                 Michael W. Holditch, Pro Hac Vice
                                                 Robert T. Lawrence, Pro Hac Vice
                                                 Joanne Harmon Curry, Pro Hac Vice
                                                 Jeremy J. Patterson, Pro Hac Vice
                                                 1900 Plaza Drive
                                                 Louisville, Colorado 80027
                                                 Phone: (303) 926.5292
                                                 Facsimile: (303) 926.5293
                                                 Email: fbassett@nativelawgroup.com
                                                 Email: jcurry@nativelawgroup.com
                                                 Email: jpatterson@nativelawgroup.com
                                                 Email: mholditch@nativelawgroup.com
                                                 Email: rlawrence@nativelawgroup.com


                                                 J. PRESTON STIEFF LAW OFFICES, LLP

                                                 /s/ J. Preston Stieff
                                                 J. Preston Stieff (4764)
                                                 110 South Regent Street, Suite 200
                                                 Salt Lake City, Utah 84111
                                                 Telephone: (801) 366-6002
                                                 Email: jps@StieffLaw.com

                                                 Attorneys for Plaintiff




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